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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                            :
 JOSE ENRIQUE CASTILLO CHAIDEZ,             :
                                            :
        v.                                  :       CIVIL ACTION NO. 18-1837
                                            :
 CARL HEMPHILL, ET AL.                      :
                                            :

  ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION TO DISMISS CERTAIN
                    CLAIMS UNDER RULE 41(a)(2)

       This 9th day of November, 2021, upon consideration of Plaintiff’s Motion to Dismiss

Certain Claims under Federal Rule of Civil Procedure 41(a)(2), and Defendants’ non-opposition to

the Motion, it is hereby ORDERED that the Motion is GRANTED.

        The following claims asserted in Plaintiff’s First Amended Complaint are hereby

 dismissed with prejudice:

    1. Count I, asserting claims under the Trafficking Victims Protection Act, 18 U.S.C. § 1589,
       as to all named Defendants (Carl Hemphill, Mariana Hemphill, KAH Transportes, LLC
       (“KAH”), Delco Mulch and Supply, LLC (“Delco Mulch”), Three Seasons Landscape
       Contracting Services, Inc. (“Three Seasons”), and MJC Labor Solutions, LLC (“MJC
       Labor Solutions”));

    2. Count II, asserting claims under the Trafficking Victims Protection Act, 18 U.S.C.
       § 1589, as to all named Defendants (Overbrook Park Holding Co., Ltd. and MJC, LP);

    3. Count III, asserting claims under the Trafficking Victims Protection Act, 18 U.S.C.
       § 1590, as to all named Defendants (Carl Hemphill, Mariana Hemphill, KAH, Delco
       Mulch, Three Seasons, and MJC Labor Solutions);

    4. Count IV, asserting claims under the Fair Labor Standards Act, 29 U.S.C. §§ 201–219,
       only as to Defendants Carl Hemphill, Mariana Hemphill, KAH, Delco Mulch, and Three
       Seasons;

    5. Count V, asserting claims under Pennsylvania’s Act 105, 18 Pa. C. S. § 3051, as to all
       named Defendants (Carl Hemphill, Mariana Hemphill, KAH, Delco Mulch, Three
       Seasons, and MJC Labor Solutions);
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6. Count VI, asserting claims under Pennsylvania’s Act 105, 18 Pa. C. S. § 3051, as to all
   named Defendants (Overbrook Park Holding Co., Ltd. and MJC, LP);

7. Count VII, asserting claims under the Pennsylvania Minimum Wage Act of 1968, 43 P.S.
   §§ 333.101–115, only as to Defendants Carl Hemphill, Mariana Hemphill, KAH, Delco
   Mulch, and Three Seasons;

8. Count VIII, asserting claims under the Pennsylvania Wage Payment and Collection Law,
   43 P.S. §§ 260.1–260.12, only as to Defendants Carl Hemphill, Mariana Hemphill, KAH,
   Delco Mulch, and Three Seasons;

9. Count IX, asserting claims for Breach of Contract, only as to Defendants Carl Hemphill,
   Mariana Hemphill, KAH, Delco Mulch, and Three Seasons;

10. Count X, asserting claims for Unjust Enrichment, only as to Defendants Carl Hemphill,
    Mariana Hemphill, KAH, Delco Mulch, and Three Seasons;

11. Count XI, asserting claims under the Pennsylvania Unfair Trade Practices and Consumer
    Protection Law, 73 P.S. §§ 201-1–201-9.2, only as to Defendants Carl Hemphill, Mariana
    Hemphill, KAH, Delco Mulch, Three Seasons; Overbrook Park Holding Co., Ltd. and
    MJC, LP; and

12. Count XII, asserting claims for Negligent Misrepresentation, only as to Defendant Carl
    Hemphill.



                                                 /s/ Gerald Austin McHugh
                                               United States District Judge
